                               Case 1:25-mj-00003-MAU                   Document 6            Filed 01/10/25                 Page 1 of 1


AO .u2 (Rev 01'09) Am:s1 WJrraur                                                                                                      Cl/    69 7 Y_b
                                                   UNITED STATES DISTRICT COURT
                                                                             for the
                                            .
                                 _, ... HI - I
                                                                    District of Columbia


                       United States of America
                                  V.
                                                                                  Case: 1 :25-mj-00003
                         ADRIAN J. HINTON                                         Assigned To : Judge Moxila A. Upadhyaya
                                                                                  Assign. Date : 01/09/2025
                                                                                  Description· COMPLAINT W/ARREST WARRANT
                                   D1!f,:11da111



                                                              ARREST WARRANT
To:         Any authorized law enforcement officer


            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(11m11,' v/pl!rso1110 h,· rrn·l!sl,•,fJ    ADRIAN J. HINTON
who is accused of an offense or violation based on the following document filed with the court:

O Indictment                    O Superseding Indictment            O Information         LI Superseding lnfonnation                    t Complaint
0 Probation Violation Petition                      O Supervised Release Violation Petition          O Violation Notice                 O Order of the Court

This offense is briefly described as follows:

  40 U.S.C § 5104(e)(1 )(A) - Unlawful activities (Discharge on the Grounds or in any of the Capitol Buildings a
  firearm, a dangerous weapon, explosives, or an incendiary device)




Date:       01/09/2025                                                                      /f(H lfrd-+-
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City and state:             Washington, DC                                               Moxila A. Upadhy�a. U.S. Magistrate Judge
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                                                                             Return

           This warrant was received on ldati!I             1 / IO/ 2;. S"        , and the person was arrested on tclatl!J              (/1()/zS
at rn1.1 a11d st,11,:)   t.J� h 1')/-n b C
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Date:          I/ ( D /     i5                                                                    �
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